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     Attorneys for Plaintiff
6
7                                UNITED STATES DISTRICT COURT
8                             NORTHERN DISTRICT OF CALIFORNIA
9    HOWARD CLARK, on behalf of himself, all            )   Case No. 3:18-cv-06193-JCS
     others similarly situated, and the general public, )
10                                                      )   NOTICE OF VOLUNTARY
                                     Plaintiff,         )   DISMISSAL WITH PREJUDICE
11
                                                        )   PURSUANT TO FEDERAL RULE OF
             vs.                                        )   CIVIL PROCEDURE 41(a)(1)(A)(i)
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                                                        )
13                                                      )
                                                        )
14                                                      )
     JUSTIN’S NUT BUTTER, LLC, a Delaware
15   Limited Liability Company,                         )
                                                        )
16                                   Defendants.        )
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                                      Clark v. Justin’s Nut Butter, LLC., Case No. 3:18-cv-06193-JCS
                                                   NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE
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1           TO THE HONORABLE COURT, ALL PARTIES, AND THEIR COUNSEL OF
2    RECORD:
3           PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure
4    41(a)(1)(A)(i), Plaintiff Howard Clark hereby dismisses his individual claims in this action with
5    prejudice.
6
7
     Dated: January 7, 2019                      Respectfully Submitted,
8
9
                                                 /s/ Ronald A. Marron
10                                               RONALD A. MARRON
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                                                  NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE
